  Case 11-43726   Doc 73   Filed 02/18/17   Entered 02/18/17 23:55:06
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                                                                        Desc Imaged Certificate of Notice   Page 1


                                                                                                     02/16/2017
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE                               §
                                    §
DALLAS ROADSTER, LIMITED            §
75Ǧ2826111                          §
825 Avenue K                        §
Plano, TX 75074                     §           Case No. 11-43725
                                    §
____________________________________§________________________________________
                                    §
IEDA ENTERPRISE, INC.               §
75Ǧ2566965                          §
825 Avenue K                        §
Plano, TX 75074                     §           Case No. 11-43726
                                    §
____________________________________§________________________________________
                                    §           Joint Administration under
                                    §           Case No. 11-43725
                                    §
                                    §
Debtors                             §           Chapter 11
                                    §

                    ORDER GRANTING UNITED STATES TRUSTEE’S
                   MOTION TO DISMISS OR CONVERT (DOCKET #551)
                      -AND CONVERTING CASES TO CHAPTER 7

        Came on for consideration the United States Trustee’s Motion to Dismiss or Convert

(“Motion”) filed in the above-numbered and captioned bankruptcy cases (“Cases”).                             The Court

finds that the Motion (Docket #551) was properly noticed. Creditor Alberto Dal Cin filed a

Joinder in Support of the Motion (Docket #552). Texas Capital Bank filed a Response in

Support of the Motion (Docket #553). Debtors did not file a formal pleading, but appeared at

the hearing.
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       At the evidentiary hearing held on February 14, 2017, Debtors did not contest the issue of

“cause” for dismissal or conversion. Therefore, the only issue for the Court to decide was

whether the Cases should be dismissed or converted.

       For the reasons stated on the record, the Court finds that it is in the best interests of

Creditors and the Estate that the Cases be converted to Chapter 7. 11 U.S.C. §1112 and §105(a).

Accordingly, it is hereby:

       ORDERED that the Motion is GRANTED and the Cases are hereby CONVERTED to

Chapter 7.

       SO ORDERED AND ADJUDGED.
                                                                Signed on 2/16/2017

                                                                                                            SR
                                                    HONORABLE BRENDA T. RHOADES,
                                                    UNITED STATES BANKRUPTCY JUDGE
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                                           United States Bankruptcy Court
                                             Eastern District of Texas
In re:                                                                                                    Case No. 11-43726-btr
IEDA Enterprise, Inc.                                                                                     Chapter 7
         Debtor
                                             CERTIFICATE OF NOTICE
District/off: 0540-4             User: carterl                        Page 1 of 2                            Date Rcvd: Feb 16, 2017
                                 Form ID: pdf400                      Total Noticed: 33


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 18, 2017.
db              IEDA Enterprise, Inc.,    825 Avenue K,    Plano, TX 75074
cr             +Alberto Dal Cin,    c/o Nathan Johnson,    12770 Coit Road, Suite 1100,    Dallas, TX 75251-1329
cr             +Compass Bank,    P.O. Box 201347,    Arlington, TX 76006-1347
cr             +Texas Capital Bank, N.A.,    c/o Jackson Walker LLP,     901 Main Street, Suite 6000,
                 Dallas, TX 75202-3748
6193205         Alberto Dal Cin,    2600 Ave. K,    Plano, TX 75074
6193127         American Five Trading, LLC,    2600 Ave K,    Plano, TX 75074
6172758         Attorney General of Texas,    Bankruptcy Reporting Contact,     OAG/CSD/Mail Code 38,
                 P.O. Box 12017,    Austin, TX 78711-2017
6172757        +Attorney General of Texas,    Taxation Division - Bankruptcy,     Box 12548 Capitol Station,
                 Austin, TX 78711-2548
6299031        +Bank of America, N.A.,    P O Box 26012,    NC4-105-02-99,    Greensboro, NC 27420-6012
6172759         City of Plano,    1520 Avenue K,    Plano, TX 75074
6172760        +City of Richardson, Texas,    411 W. Arapaho Road,    Richardson, TX 75080-4543
6172761        +Collin County Tax Assessor/Collector,     P.O. Box 8006,    McKinney, TX 75070-8006
6172762        +Dallas County Tax Assessor/Collector,     John R. Ames, CTA,    500 Elm Street,
                 Dallas, TX 75202-3304
6172763         Dallas Roadster, Limited,    825 Avenue K,    Plano, TX 75074
6172767        +Jennifer L. Owen,    Higier, Allen & Lautin, P.C.,    5057 Keller Springs Road, Suite 600,
                 Addison, TX 75001-6352
6172768        +John E. Collins,    Burleson, Pate & Gibson, LLP,    900 Jackson Street, Suite 330,
                 Dallas, TX 75202-4485
6172770        +Patrick Michaels,    P.E. Michaels Consulting,    1403 Marlboro Lane,    Richardson, TX 75082-3007
6172771        +Plano Independent School District,     2700 W. 15th Street,    Plano, TX 75075-7524
6172772        +Richardson I.S.D. Tax Office,     Alicia Stephenson, RTA,    970 Security Row,
                 Richardson, TX 75081-2234
6172773        +SEC,   100 F Street, NE,    Washington, DC 20549-2001
6172774        +Texas Capital Bank National Association,     4230 LBJ Freeway,    Suite 100,
                 Dallas, TX 75244-5817
6172775        +Texas Capital Bank, National Association,     14131 Midway Road,    Suite 100,
                 Addison, TX 75001-3633
6172777         United States Attorney,    110 North College Ave., Ste. 700,     Tyler, TX 75702-0204

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/PDF: acg.acg.ebn@americaninfosource.com Feb 17 2017 01:43:14
                 Compass Bank (Unsecured) Department,    c/o Ascension Capital Group,    P.O. Box 201347,
                 Arlington, TX 76006-1347
cr              E-mail/Text: ebcalvo@pbfcm.com Feb 17 2017 01:32:51       Richardson Independent School District,
                 c/o Elizabeth Banda Calvo,    Perdue Brandon Fielder et al,    PO Box 13430,
                 Arlington, TX 76094-0430
6172764        +E-mail/Text: bankruptcy@gmigr.com Feb 17 2017 01:34:07       Gay, McCall, Isaacks, et al,
                 777 East 15th Street,    Plano, TX 75074-5799
6172765         E-mail/Text: cio.bncmail@irs.gov Feb 17 2017 01:33:29       Internal Revenue Service,
                 Centralized Insolvency Operations,    PO Box 7346,    Philadelphia, PA 19101-7346
6172769        +E-mail/Text: dallas.bankruptcy@LGBS.com Feb 17 2017 01:34:16
                 Linebarger, Goggan, Blair & Sampson, LLP,     2323 Bryan Street, Suite 1600,
                 Dallas, TX 75201-2637
6182007         E-mail/PDF: rmscedi@recoverycorp.com Feb 17 2017 01:42:39
                 Recovery Management Systems Corporation,    25 S.E. 2nd Avenue, Suite 1120,
                 Miami, FL 33131-1605
6173720         E-mail/Text: ebcalvo@pbfcm.com Feb 17 2017 01:32:51       Richardson Indepdent School District,
                 c/o Elizabeth Banda Calvo,    Perdue Brandon Fielder et al,    PO Box 13430,
                 Arlington, Texas 76094-0430
6172776         E-mail/Text: pacer@cpa.state.tx.us Feb 17 2017 01:34:51       Texas State Comptroller,
                 Capitol Station,   Austin, TX 78774
6172778         E-mail/Text: ustpregion06.ty.ecf@usdoj.gov Feb 17 2017 01:33:47       United States Trustee,
                 110 North College Ave., Ste. 300,    Tyler, TX 75702-7231
6242593        +E-mail/Text: bankruptcy@wrightexpress.com Feb 17 2017 01:34:13
                 Wright Express Financial Services,    PO Box 639,    Portland, ME 04104-0639
                                                                                              TOTAL: 10

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
6172766*        Internal Revenue Service -,    Centralized Insolvency Operations,   PO Box 7346,
                 Philadelphia, PA 19101-7346
6260746      ##+Texas Capital Bank, N.A.,    c/o Kenneth Stohner Jr.,   Jackson Walker LLP,
                 901 Main St., Suite 6000,    Dallas, TX 75202-3748
                                                                                             TOTALS: 0, * 1, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: pdf400                     Total Noticed: 33


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                               Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 18, 2017                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 16, 2017 at the address(es) listed below:
              Elizabeth Banda Calvo     on behalf of Creditor    Richardson Independent School District
               rgleason@pbfcm.com, ebcalvo@pbfcm.com;ebcalvo@ecf.inforuptcy.com
              J. Bennett White    on behalf of Debtor    IEDA Enterprise, Inc. jbw@jbwlawfirm.com,
               sgardner@jbwlawfirm.com
              John M. Vardeman    on behalf of U.S. Trustee    US Trustee john.m.vardeman@usdoj.gov
              Kenneth Stohner, Jr.     on behalf of Creditor    Texas Capital Bank, N.A. kstohner@jw.com,
               lcrumble@jw.com;tsalter@jw.com
              Michael S. Mitchell    on behalf of Debtor    IEDA Enterprise, Inc. mike@demarcomitchell.com
              Michelle Chow     chowtrustee@swbell.net, mchow@iq7technology.com
              Nathan M Johnson    on behalf of Creditor Alberto Dal Cin njohnson@spectorjohnson.com,
               nathanmj@sbcglobal.net;ahawkins@spectorjohnson.com
              Recovery Management Systems Corporation     claims@recoverycorp.com
              Robert T. DeMarco    on behalf of Debtor    IEDA Enterprise, Inc. robert@demarcomitchell.com,
               teresa@demarcomitchell.com;mike@demarcomitchell.com
                                                                                              TOTAL: 9
